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AO                              boos in a Civil Action


                                      United States District Court
                                Northern                       District of               Georgia
                                                         Atlanta                    Division

                                                                                           THIRD PARTY SUMMONS IN A
Wets-Buy Services, Inc . and Tom Lange                                                            CIVIL CASE
Company, Inc., et al .

PLAINTIFF                                                                               CASE NUMBER :       1 :02CV2039-TWT

V . DEFENDANT AND THIRD PARTY PLAINTIFF

John Manning Co ., Inc.

V . THIRD PARTY DEFENDANT

National Produce Distributors, Inc., et al .

To : Name and address of Third Party Defendant
 National Produce Distributors, Inc.
c/o Stephanie Jordan
526 Evergreen Way
Stockbridge, Georgia 30281




         YOU ARE HEREBY SUMMONED and required to file with the Clerk of this court and serve upon

PLAINTIFF'S ATTORNEY (name and address)                                 DEFENDANT AND THIRD-PARTY PLAINTIFF'S
                                                                        ATTORNEY (name and address)
See attached list                                                       John A. Howard, Esq .
                                                                        Burr & Forman LLP
                                                                        600 W. Peachtree Street
                                                                        Suite 1200
                                                                        Atlanta, Georgia 30308
                                                                        (404) 815-3000


an answer to the third-party complaint which is herewith served upon you within          20         days after service of this
summons upon you exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the third-party complaint. There is also served upon you herewith a copy of the complaint of the
plaintiff. You have the option of answering or not answering the plaintiffs complaint, unless (1) this is a case within Rule
9(h) Federal Rules of Civil Procedure, and (2) the third-party plaintiff is demanding judgment against you in favor of the
original plaintiff under the circumstances described in Rule 14(c) Federal Rules of Civil procedure, in which situation you
are required to make your defenses, if any, to the claim of plaintiff as well as to the claim of the third-party plaintiff.



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           Case 1:02-cv-02039-WSD Document 200 Filed 06/02/03 Page 2 of 6




         PLAINTIFFS' ATTORNEYS :

         David A. Adelman, Esq.
         Keaton & Associates
         1278 W. Northwest Highway
         Suite 903
         Palatine, IL 60067

         J . Christopher Simpson, Esq.
         James Martin, Esq .
         Simpson Law Offices, LLP
         550 Pharr Road, Suite 410
         Atlanta, GA 30305

         Attorneys for Weis-Buy, et al.

         Lawrence H . Meuers, Esq .
         Katy L. Koestner, Esq .
         Meuers Law Firm, P.L.
         5395 Park Central Court
         Naples, Florida 34109

         Jeremy A. Moulton, Esq .
         Moulton & Massey, LLC
         925 Railroad Street
         Conyers, GA 30012

         Attorneys for Tom Lange, et al.




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                          Case 1:02-cv-02039-WSD Document 200 Filed 06/02/03 Page 3 of 6




AO 44 1 (Rev . 5/85 Third Pam Summons in a Civil Action
                                                               RETURN OF SERVICE
                                                                                      DATE
    Service of the Summons and complaint was made by me ("

NAME OF SERVER (PR/Nn                                                                 TITLE

Check one box below to indicate appropriate method ofservice


     0 Served personally upon the third-party defendant. Place where served :



     0 Left copies thereof at the third-party defendant's dwelling house or usual place of abode with a person of suitable age and
            discretion then residing therein .

            Name of person with whom the summons and complaint were left:

     0 Returned unexecuted :




            Other (specify) :



                                                        STATEMENT OF SERVICE FEES
TRAVEL                                               SERVICES                                    TOTAL

                                                             DECLARATION OF SERVER

              f declare under penalty of perjury under the laws of the United States of America that the foregoing information
         contained in the Return of Service of Statement of Service Fees is true and correct.


         Executed on
                                      Date                      Signature of Server



                                                                Address of Server




( 1) As to who may serve a summons see Rule d o(Ihe Federal Rules of Civil Procedure.




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AO 441 (Rev . 5/85) Third Parry umrrTtfsin a Civil Action



                                          United States District Court
                                   Northern                       District of               Georgia
                                                            Atlanta                    Division

                                                                                              THIRD PARTY SUMMONS IN A
Weis-Buy Services, Inc. and Tom Lange                                                                CIVIL CASE
Company, Inc., et al .

PLAINTIFF                                                                                  CASE NUMBER :     1 :02CV2039-TWT

V . DEFENDANT AND THIRD PARTY PLAINTIFF

John Manning Co ., Inc.

V . THIRD PARTY DEFENDANT

Win Fun Food Corporation a/k/a Win Fun Produce , et al .

To : Name and address of Third Party Defendant
Win Fun Food Corporation a/Wa Win Fun Produce
c/o Yun Qin Li
36 Enterprise Boulevard SW
Atlanta, Georgia 30336




          YOU ARE HEREBY SUMMONED and required to file with the Clerk of this court and serve upon

PLAINTIFF'S ATTORNEY (name and address)                                    DEFENDANT AND THIRD-PARTY PLAINTIFF'S
                                                                           ATTORNEY (name and address)
See attached list                                                          John A . Howard, Esq .
                                                                           Burr & Forman LLP
                                                                           600 W. Peachtree Street
                                                                           Suite 1200
                                                                           Atlanta, Georgia 30308
                                                                           (404) 815-3000


an answer to the third-party complaint which is herewith served upon you within          20         days after service of this
summons upon you exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the third-party complaint. There is also served upon you herewith a copy of the complaint of the
plaintiff. You have the option of answering or not answering the plaintiffs complaint, unless (1) this is a case within Rule
9(h) Federal Rules of Civil Procedure, and (2) the third-party plaintiff is demanding judgment against you in favor of the
original plaintiff under the circumstances described in Rule 14(c) Federal Rules of Civil procedure, in which situation you
are required to make your defenses, if any, to the claim of plaintiff as well as to the claim of the third-party plaintiff.



                  TIMER 1) . TOK"ks                                                           JUN p 2 2003
                                                                                DATE

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           Case 1:02-cv-02039-WSD Document 200 Filed 06/02/03 Page 5 of 6




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         5395 Park Central Court
         Naples, Florida 34109

         Jeremy A. Moulton, Esq.
         Moulton & Massey, LLC
         925 Railroad Street
         Conyers, GA 30012

         Attorneys for Tom Lange, et al .




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                          Case 1:02-cv-02039-WSD Document 200 Filed 06/02/03 Page 6 of 6




AO 441 Rev. 5/85) Third Parry Summons in a Civil Action
                                                                RETURN OF SERVICE
                                                                                       DATE
                                                                          (1)
    Service of the Summons and complaint was made by me

NAME OF SERVER (PRINT)                                                                 TITLE

Check ant box below to indicate appropriate method of service


     0 Served personally upon the third-party defendant . Place where served :



     0 Left copies thereof at the third-party defendants dwelling house or usual place of abode with a person of suitable age and
            discretion then residing therein .

            Name of person with whom the summons and complaint were left:

     0 Returned unexecuted :




     0 Other (specify) :



                                                        STATEMENT OF SERVICE FEES
TRAVEL                                               SERVICES                                    TOTAL

                                                                DECLARATION OF SERVER

              I declare under penalty of perjury under the laws of the United States of America that [he foregoing information
         contained in the Return of Service of Statement of Service Fees is true and correct .


         Executed on
                                      Date                       Signature of Server




                                                                 Address of Server




(I) As to who may serve a summons see Rule 4 of the Federal Rulers of Civil Procedure.




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